                         Case 3:21-cr-00099-SI       Document 8      Filed 04/14/21        Page 1 of 1

AO 455 (Rev. 01/09) Waiver of an Indictment


                                       UNITED STATES DISTRICT COURT
                                                           for the
                                                     District
                                              __________      of Oregon
                                                         District of __________

                  United States of America                   )
                             v.                              )     Case No. 21-cr-00099
                                                             )
                     Carlos Aron Paladini                    )
                             Defendant                       )

                                              WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:         04/06/2021                                                            /s/ Carlos Aron Paladini
                                                                                       Defendant’s signature



                                                                                      /s/ Thomas E. Price
                                                                                  Signature of defendant’s attorney

                                                                                        Thomas E. Price
                                                                               Printed name of defendant’s attorney



                                                                                     /s/ Michael H. Simon
                                                                                          Judge’s signature


                                                                           U.S. District Court Judge Michael H. Simon
                                                                                   Judge’s printed name and title
